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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

     UNITED STATES OF AMERICA,

                  Plaintiff,

     vs.                                               Case No. 09-20579
                                                       Hon. Patrick J. Duggan
     GRANT JOHNSON D-9

                  Defendant.

     __________________________________/
     BARBARA L. McQUADE (P45423)
     UNITED STATES ATTORNEY

     KAPLOVITZ & ASSOCIATES, P.C.
     By: Ronald E. Kaplovitz (P36889)
     Attorney for Defendant
     2057 Orchard Lake Rd.
     Sylvan Lake, MI 48320
     (248) 333-3666

            ORDER GRANTING TRAVEL AND SUBSISTENCE EXPENSES

                       At a session of said Court, held in the United
                       States Courthouse, City of Detroit, County of
                               Wayne, State of Michigan on
                                    February 4, 2011.

                                 Present: PATRICK J. DUGGAN
                                          United States District Judge

           Defendant, Grant Johnson having filed a motion requesting this Court to

     Authorize round trip travel and subsistence expenses for himself, and the Court

     having been fully advised in the premises;

           IT IS HEREBY ORDERED AND ADJUDGED that the United States

     Marshal Service shall arrange Defendant, Grant Johnson, non-custodial round

     trip transportation and subsistence expenses from Dallas Texas to Detroit,
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     Michigan so that he may attend and participate in the sentencing scheduled for

     February 9, 2011.


                         s/Patrick J. Duggan
                         Patrick J. Duggan
                         United States District Judge
     Dated: February 4, 2011

     I hereby certify that a copy of the foregoing document was served upon counsel
     of record on February 4, 2011, by electronic and/or ordinary mail.

                         s/Marilyn Orem
                         Case Manager
